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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

COOK COUNTY REPUBLICAN PARTY, )
                                 )
                     Plaintiff,  )
                                 )                    Case No.: 20-cv-04676
       vs.                       )
                                 )                    Hon. Robert M. Dow, Jr.
                                 )
J.B. PRITZKER, et al.            )
                                 )
                     Defendants. )

      DEFENDANT ILLINOIS STATE BOARD OF ELECTIONS’ RESPONSE TO
           PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Defendants, William J. Cadigan, Katherine S. O’Brien, Laura K. Donahue, Casandra B.

Watson, Ian K. Linnabary, Charles W. Scholz, William R. Haine, and William M. McGuffage

(collectively “State Board Defendants”), submit the following memorandum in response to

Plaintiff’s motion for preliminary injunction. (Dkts. 5, 6.)

                                        INTRODUCTION

       Months after the passage of Public Act 101-0642, Plaintiff Cook County Republican Party

filed suit against multiple defendants alleging that the recently passed law violates the fundamental

right to vote guaranteed by the First and Fourteenth Amendments of the United States Constitution

and various provisions of the Illinois Constitution. Plaintiff asserts that in order to avoid these

purported deprivations of voters’ fundamental right to vote, it is entitled to the entry of an order

enjoining almost the entirety of P.A. 101-0642. (Dkt. 6, at 16.) But Plaintiff has failed to meet its

burden to establish its entitlement to the drastic remedy of a preliminary injunction, and,

accordingly, its motion should be denied.




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        As an initial matter, Plaintiff’s claims that P.A. 101-0642 violates the Illinois Constitution

are barred by the Eleventh Amendment and should be dismissed. Additionally, Plaintiff’s request

for entry of a preliminary injunction should be dismissed for several reasons. First, Plaintiff is not

entitled to injunctive relief because it is unlikely to succeed on the merits of its claim: P.A. 101-

0642 places no restrictions on an individual’s ability to vote that Plaintiff has identified, and

therefore poses no burden. Accordingly, the Anderson-Burdick test is inapplicable and P.A. 101-

0642 is not unconstitutional under this test. In addition, Plaintiff has submitted no evidence that

supports its claims of potential rampant voter fraud due to P.A. 101-0642, and therefore has failed

to meet its burden. Second, given Plaintiff’s request for such sweeping relief just weeks before the

September 24th statutory commencement of vote by mail ballot mailing, the hardship to

defendants and potentially to voters across the state far outweighs the burden to Plaintiff.

Essentially, Plaintiff requests far-reaching changes to the Election Code on the eve of a major

election, despite the fact that federal courts have warned against granting such relief. And third,

the public interest is not furthered by Plaintiff’s requested relief.

                                        LEGAL STANDARD

        A preliminary injunction is “an extraordinary and drastic remedy, one that should not be

granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997) (emphasis in original); see also Boucher v. Sch. Bd. of Sch.

Dist. of Greenfield, 134 F.3d 821, 823 (7th Cir. 1998) (same); see also Roland Mach. Co. v.

Dresser Indus., 749 F.2d 380, 389 (7th Cir. 1984). For such drastic relief to be granted, “a plaintiff

must show three things: (1) without such relief, he will suffer irreparable harm before his claim is

finally resolved; (2) he has no adequate remedy at law; and (3) he has some likelihood of success

on the merits.” Harlan v. Scholz, 866 F.3d 754, 758 (7th Cir. 2017). If plaintiff can make this

minimum showing, the court must still “weigh the harm the plaintiff will suffer without an

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injunction against the harm the defendant will suffer with one.” Id. The court must also consider

whether granting a preliminary injunction is in the public interest. Id. The court “must balance

the competing claims of injury and must consider the effect on each party of granting or

withholding the requested relief,” paying “particular regard for the public consequences in

employing the extraordinary remedy of injunction.” Winter v. Natural Res. Def. Council, 555 U.S.

7, 24 (2008).

                                            ARGUMENT

        I.      Any Claim that Public Act 101-0642 Violates the Illinois Constitution Is
                Barred by the Eleventh Amendment.

        The Eleventh Amendment shields states from any suit in law or equity commenced by an

individual to which the state does not consent. See Seminole Tribe of Florida v. Florida, 517 U.S.

44, 54 (1996). A suit against a state official in his or her official capacity is a suit against the state

for purposes of the Eleventh Amendment and is barred unless one of three limited exceptions

applies: (1) where Congress validly abrogates a State’s immunity from suit; (2) where the State

consents to suit in federal court; and (3) when the suit is within the parameters enumerated by the

Supreme Court in Ex parte Young, 209 U.S. 123 (1908). Power v. Summers, 226 F.3d 815, 817–

18 (7th Cir. 2000); see also Council 31 of the American Fed. of State, County, and Mun.

Employees, AFL-CIO v. Quinn, 680 F.3d 875, 882 (7th Cir. 2012).

        The Ex Parte Young exception to immunity only applies where there is a threatened or

ongoing violation of federal law by a state official. Vickery v. Jones, 100 F.3d 1334, 1346 (7th Cir.

1996). Plaintiff’s state constitutional claims, therefore, do not fall within the Ex parte Young

exception and do not allow for a suit against state officials in federal court. Thus, Plaintiff is

prohibited from bringing any claims that the State Board Defendants violated the Illinois

Constitution in federal court.


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       II.     Plaintiff Cannot Show It Is Entitled to Its Requested Relief.

               A. Plaintiff Is Unlikely to Succeed on Its First and Fourteenth Amendment
                  Claims.

       When evaluating whether a state election law infringes upon a First Amendment right,

courts apply the balancing test derived from Anderson v. Celebrezze, 460 U.S. 780 (1983), Burdick

v. Takushi, 504 U.S. 428 (1992), and Timmons v. Twin Cities Area New Party, 520 U.S. 351

(1997). Under this test, courts weigh the “character and magnitude” of the burden imposed by the

State’s rule against the interests the State contends justify the burden. Regulations imposing severe

burdens on plaintiffs’ rights must be narrowly tailored and advance a compelling state interest.

“But when a state election law provision imposes only reasonable, nondiscriminatory restrictions

upon the First and Fourteenth Amendment rights of voters, the State’s important regulatory

interests are generally sufficient to justify the restrictions.” Burdick, 504 U.S. at 434 (internal

citations and quotation marks omitted). In assessing the “character and magnitude” of the asserted

injury, the Court must evaluate the alleged burden not “in isolation, but within the context of the

state’s overall scheme of election regulations.” Lerman v. Board of Elections in City of New York,

232 F.3d 135, 145 (2d Cir. 2000). The Anderson-Burdick test forecloses the “substitution of

judicial judgment for legislative judgment” when examining election laws. Luft v. Evers, 963 F.3d

665, 671 (7th Cir. 2020).

       There is a glaring issue with Plaintiff’s reliance on Anderson-Burdick to advance its cause:

Plaintiff has not identified any restriction created by P.A. 101-0642 that infringes a First

Amendment right. On the contrary, Plaintiff appears to contend that hypothetical voters’ rights are

violated by the lack of restrictions in P.A. 101-0642, which—Plaintiff speculates—will invariably

lead to significant voter fraud.




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        As ample case law demonstrates, it is only “when voting rights have been severely

restricted must states have compelling interests and narrowly tailored rules.” Luft, 963 F.3d at 672.

Here, Plaintiff attempts to turn Anderson-Burdick on its head by arguing that removing barriers to

voting creates a tremendous injury. But even a cursory review of a case such as Nader v. Keith,

385 F.3d 729 (7th Cir. 2004), reveals that concerns about voter fraud were used to justify

restrictions on ballot access. 385 F.3d at 731 (suit challenged provisions of election law requiring

an independent candidate to obtain nominating signatures from at least 25,000 qualified voters,

requiring the address on each petition to be the address at which the petitioner is registered to voter,

and requiring the petitions to be submitted at least 134 days before the election). Tellingly, Plaintiff

has not cited a case in which Anderson-Burdick was employed in the absence of an alleged

restriction on the right to vote. In sum, Plaintiff points to no restriction that poses a burden on an

individual’s ability to vote, confirming that Anderson-Burden is inapposite here.

        Yet even if Anderson-Burdick were somehow applicable, Plaintiff has failed to produce

sufficient evidence that the “character and magnitude of the asserted injury in this case is

tremendous.” (Dkt. 6, at 7.) Rather, Plaintiff relies on news articles discussing isolated incidences

of voter fraud dating back to 2005, a report of the Commission on Federal Election Reform from

2005, and speculation to support its claims. Plaintiff has not submitted evidence of voter fraud

affecting elections in Illinois that would warrant a radical remedy such as a preliminary

injunction—despite the fact that, as Plaintiff admits, “Illinois voters could already request an

absentee ballot under prior law with no reason required.” (Dkt. 6, at 2.) Plaintiff’s other arguments

regarding the requirement that election judges be unanimous in deciding to count a vote by mail

ballot, and the provision expanding the election-day holiday, are wholly speculative on the current




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record. Thus, Plaintiff has failed to meet its substantial burden in showing its entitlement to the

entry of a preliminary injunction.

       For these reasons, Plaintiff cannot show it has a likelihood of success on the merits, and

cannot meet the high bar necessary for the entry of a preliminary injunction.

               B. The Balance of Harms Weighs against the Entry of an Injunction,
                  Especially on the Eve of the Upcoming Election, and Plaintiff’s Requested
                  Relief Is not in the Public Interest.

       In addition to Plaintiff’s failure to provide evidence of irreparable harm, its requested relief

would likely result in substantial burdens to the 108 election authorities across the state. Despite

passage of this law months ago, Plaintiff waited until August 10, 2020, to file its motion for

preliminary injunction seeking to enjoin substantial portions of this law. Simply put, Plaintiff

waited too long to take action.

       Pursuant to P.A. 101-0642, election authorities will begin mailing official ballots beginning

September 24, 2020—less than three weeks from now. 10 ILCS 5/2B-20(a). Any electors applying

for a ballot before October 1, 2020, are to receive a ballot no later than October 6, 2020. Id. Election

authorities are to mail official ballots to electors requesting ballots after October 1, 2020, no later

than 2 business days after receipt of the application. Id.

       To enjoin P.A. 101-0642 so close to these deadlines could seriously undermine the

orderliness of the upcoming election. The Illinois State Board of Elections has already enacted

administrative rules implementing P.A. 101-0642. 26 Ill. Admin. Code 225.10-.30. Undoubtedly,

election authorities across the state have been making arrangements to effectuate PA. 101-0642

and its implementing rules, likely expending both money and resources to do so. To upset those

arrangements could require rapid alterations to planned procedures and cause disarray less than

two months before the November 3, 2020 general election. Moreover, significant changes to the



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Election Code at this point could result in voter confusion. See RNC v. DNC, --- S.Ct. ---, 2020

WL 1672702, *1 (U.S. April 6, 2020) (federal courts should ordinarily not alter election rules on

the eve of an election); see also Gjerstein v. Bd. of Election Com’rs for City of Chicago, 791 F.2d

472, 479 (7th Cir. 1986) (federal courts should avoid unwarranted interference with the process of

state government in election context).

       Additionally, granting the drastic relief sought by Plaintiff here on such sparse evidence

does not serve the public interest. The law Plaintiff belatedly complains of has been in place since

May. Enjoining P.A. 101-0642 at this point would leave voters with fewer options to safely

participate in the upcoming election, potentially discouraging participation and causing

widespread voter confusion. This is especially true given the apparently large number of voters

who have already requested vote by mail ballots.1 For these reasons, Plaintiff has not met its

burden and is not entitled to its requested injunctive relief.




1
 https://www.nbcchicago.com/news/local/chicago-politics/chicago-voters-smash-record-for-requests-to-
vote-by-mail-in-november-election/2322325/ (accessed September 3, 2020)

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                                      CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiff’s motion for a preliminary

injunction.



Dated: September 4, 2020




                                          Respectfully submitted,
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